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                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLORADO
                                 Senior District Judge Richard P. Matsch

Civil Action No. 07-cv-00371-RPM

CHARLES CALDWELL and
VICKI CALDWELL,

                        Plaintiffs,
v.

THE COUNTY OF PARK, a body corporate and politic and
a political subdivision of the State of Colorado,
FRED WEGENER,
MONTE GORE,
GREGORY S. FLINT,
STEVEN GROOME,
SHAWNA WHITEOWL, and
MARK DAMON,

                    Defendants.
____________________________________________________________________________________

                      ORDER SETTING SCHEDULING CONFERENCE
____________________________________________________________________________________

        Pursuant to D.C.COLO.LCivR 16, it is

        ORDERED that a scheduling conference will be held on August 16, 2007, at 11:30 a.m. in the

Conference Room, Second Floor, the Byron White United States Courthouse, 1823 Stout Street, Denver,

Colorado. Counsel are directed to comply with the Instructions for Preparation of Scheduling Order which

may be found at http://www.cod.uscourts.gov/judges frame.htm (Judge Richard P. Matsch Procedures)

and use the format provided with those instructions. The proposed order, original and one copy, on paper,

shall be submitted directly to chambers by August 9, 2007.

        Dated: June 27th, 2007

                                                BY THE COURT:

                                                s/Richard P. Matsch
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                                                Richard P. Matsch, Senior Judge
